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                      UNITED STATES DISTRICT COURT

                            DISTRICT OF KANSAS


In re EPIPEN (EPINEPHRINE INJECTION, )   Civil Action No. 2:17-md-02785-DDC-TJJ
USP) MARKETING, SALES PRACTICES )        (MDL No. 2785)
AND ANTITRUST LITIGATION             )
                                     )
                                     )
This Document Relates To:            )
                                     )
       CONSUMER CLASS CASES.         )
                                     )




 MEMORANDUM OF LAW IN SUPPORT OF CLASS PLAINTIFFS’ MOTION FOR
PRELIMINARY APPROVAL OF SETTLEMENT WITH THE PFIZER DEFENDANTS
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I.      INTRODUCTION

        After four years of vigorous litigation in this Action,1 Plaintiff Class Representatives, on

behalf of themselves and the certified Class (together “Class Plaintiffs” or “Plaintiffs”) and the

Pfizer Defendants2 (together, the “Settling Parties”) have reached an agreement that represents an

outstanding recovery of $345 million for the certified Class in settlement of its claims against Pfizer.

Litigation continues against the Mylan Defendants.3 The proposed Settlement is the result of well-

informed and arm’s-length negotiations between highly-experienced counsel who possess a

thorough understanding of the strengths and weaknesses of the claims at issue due to extensive

investigation, significant discovery, numerous rulings from the Court, and expert analysis.

Additionally, the parties reached this Settlement after a comprehensive mediation process overseen

by a neutral, experienced, and well-regarded mediator, retired U.S. District Judge Layn R. Phillips.

        Considering the value of the proposed Settlement, in light of the costs and risks of further

litigation, the Settlement provides an immediate and equitable result for the certified Class. The

Settlement is fair, reasonable, and adequate under Rule 23(e)(2) and Tenth Circuit precedent. Class

Counsel’s proposed form and method of providing notice of the Settlement to certified Class

Members also satisfies the requirements of due process, as well as the conditions set forth in Rules

23(c) and (e). Because Class Counsel’s initial class certification notice program surpassed the

requirements of due process and Rule 23(c) in adequacy of class notice, sufficiency and clarity of



1
       All capitalized terms not otherwise defined herein shall have the meaning given to them in
the July 14, 2021, Stipulation of Class Action Settlement (“Settlement Agreement”), a copy of
which is attached hereto as Exhibit 1. All emphasis is added, and citations are omitted, unless
otherwise noted.
2
      Pfizer, Inc., Meridian Medical Technologies, Inc., and King Pharmaceuticals, Inc. (n/k/a
King Pharmaceuticals LLC) (collectively, the “Pfizer Defendants”).
3
        Mylan N.V., Mylan Specialty L.P., Mylan Pharmaceuticals Inc., and Heather Bresch.

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exclusion language and opportunity, and overall reasonableness (ECF No. 2240), no additional

exclusion opportunity is required by due process, nor warranted under Rule 23(e).

       Accordingly, Plaintiffs respectfully request that the Court enter the Settling Parties’ agreed-

upon Preliminary Approval Order, submitted to chambers in Word format pursuant to the Local

Rules and attached as Exhibit A to the Settlement Agreement (Exhibit 1 hereto). That Order will:

       1.     Preliminarily approve the terms of the Settlement as set forth in the

       Settlement Agreement;

       2.     Approve the form and content of the Notice of Proposed Settlement of Class

       Action (“Notice”), Proof of Claim Forms, and Summary Notice (also known as

       Short-Form Notice) attached as Exhibits B-D to the Settlement Agreement, as well

       as the appointment of A.B. Data Ltd. as Settlement Administrator;

       3.     Find that the procedures for distribution and publication of the Notice and

       Summary Notice in the manner and form set forth in the Declaration of Eric

       Schachter of A.B. Data, Ltd. Regarding Notice and Claims Administration

       (“Schachter Decl.”), attached as Exhibit 2 hereto, constitute the best practicable

       notice under the circumstances and comply with the notice requirements of due

       process and Rule 23;

       4.     Set a Hearing on Final Approval of Settlement, Attorneys’ Fees, Expenses,

       and Service Awards (“Final Fairness Hearing”) and associated deadlines in

       anticipation of that hearing; and

       5.     Provide such other related relief as is necessary to carry out the Settlement,

       as set forth in the Preliminary Approval Order, including a stay of proceedings as to

       the Pfizer Defendants only pending a final determination as to whether the

       Settlement should be approved.

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II.      SUMMARY OF THE ACTION

         In 2016, numerous putative class action lawsuits were filed against both the Mylan

Defendants and the Pfizer Defendants “involv[ing] allegations of anticompetitive conduct or unfair

methods of competition” with respect to the EpiPen, an epinephrine auto-injector used in the

emergency treatment of anaphylaxis. ECF No. 1 at 1. These cases were transferred and/or

centralized by the Judicial Panel on Multidistrict Litigation into MDL No. 2785, In re EpiPen

(Epinephrine Injection, USP) Marketing, Sales Practices and Antitrust Litigation, No. 17-md-2785,

and transferred to the United States District Court in the District of Kansas before the Honorable

Daniel D. Crabtree (referred to herein as the “Litigation”) on August 4, 2017. ECF No. 1.

         On September 12, 2017, the Court appointed Co-Lead Counsel and approved Plaintiffs’

proposed organizational structure, including Liaison Counsel and a Steering Committee. ECF No.

40. The Court has since substituted a member of the Steering Committee (ECF No. 2111) and

added an additional Co-Lead Counsel (ECF No. 2018).

         On October 17, 2017, Plaintiffs filed a Consolidated Class Action Complaint (“Complaint”)

stating claims for violations of the federal Racketeer Influenced and Corrupt Organizations

(“RICO”) Act, certain state antitrust laws, and other causes of action. Complaint (ECF No. 60) &

Pretrial Order (ECF No. 2169). These claims arose from allegedly supracompetitive pricing of the

EpiPen and related conduct. See In re (Epinephrine Injection, USP) EpiPen Mktg., Sales Pracs. &

Antitrust Litig., 336 F. Supp. 3d 1256, 1282 (D. Kan. 2018) (explaining that the Complaint alleged

“a pricing scheme” that centered on raising “the price of the EpiPen from $100 to $600 by launching

a campaign of false and misleading statements and actions”).

         Subsequently, Defendants filed Motions to Dismiss the Complaint, which the Court granted

in part and denied in part on August 20, 2018. ECF No. 896. Plaintiffs then moved for class

certification under Rule 23(b)(3). On February 27, 2020, the Court granted in part and denied in

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part Plaintiffs’ motion for class certification and certified a nationwide RICO Class and a State

Antitrust Class under Rule 23(b)(3). ECF No. 2018. The Court also appointed Warren T. Burns,

Paul J. Geller, Elizabeth Pritzker, Lynn Lincoln Sarko, and Rex A. Sharp as Co-Lead Counsel for

the certified Class. Defendants then filed a Rule 23(f) petition for review of that decision with the

Tenth Circuit on March 12, 2020, and the Tenth Circuit denied Rule 23(f) review on May 26, 2020.

ECF Nos. 2035, 2071. On October 13, 2020, the Court approved the appointment of A.B. Data,

Ltd. to provide notice to the certified Class and approved the form and manner of that notice, which

commenced on November 1, 2020, and ended on January 15, 2021.

       During the pendency of the Litigation, Plaintiffs engaged in substantial discovery that

involved the Defendants, Plaintiffs, and numerous third parties. This discovery resulted in the

production of over 1.75 million documents (totaling over 11 million pages) and 158 depositions,

including those of Defendants, Plaintiffs, third parties, and experts. Plaintiffs also engaged in

substantial expert discovery, including consulting with and preparing expert witnesses, preparing

expert reports, and vigorously defending many Daubert motions against their experts. From

October 2019 to February 2020, the parties served over one dozen additional expert reports on the

merits of their respective claims and defenses in the Litigation.

       On July 15, 2020, Defendants moved for summary judgment and filed Daubert motions to

strike Plaintiffs’ experts in whole or in part. ECF Nos. 2133, 2134, 2135, 2136, 2141, 2148, 2151,

2156. Trial in the Litigation was set to commence on September 7, 2021, based on the Pretrial

Order dated July 17, 2020 (ECF No. 2169), later modified with a Trial Order entered on January

28, 2021 (ECF No. 2316).

       Beginning in February 2021, as the trial date approached, Plaintiffs and the Pfizer

Defendants engaged an experienced and neutral third-party mediator, the Honorable Layn R.

Phillips (Ret.), and held pre-mediation and direct settlement discussions. Plaintiffs and the Pfizer

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Defendants made several presentations to the mediator via Zoom (out of precautions taken during

the ongoing COVID-19 pandemic) between February 2021 and June 3, 2021.

       On June 10, 2021, Plaintiffs and the Pfizer Defendants agreed to settle the claims against

Pfizer in return for a cash payment of $345 million inclusive of all fees and costs, for the benefit of

the certified Class. On June 14, 2021, the Settling Parties informed the Court that, with the

assistance of Judge Phillips, they had agreed to settle all claims asserted in the Litigation.

       On June 23, 2021, after the Settling Parties signed a binding Term Sheet and informed the

Court of the Settlement, the Court entered Memoranda and Orders resolving the pending motions

for summary judgment and Daubert motions as to the Mylan Defendants. The Court denied the

Mylan Defendants’ motion for summary judgment as to the Plaintiffs’ generic delay claim, but

granted the Mylan Defendants’ motion for summary judgment as to Plaintiffs’ branded exclusion

and RICO claims. The Court also granted in part and denied in part the Mylan Defendants’ Daubert

motions. ECF Nos. 2380, 2381.

III.   TERMS OF THE SETTLEMENT

       The Settlement Agreement, attached as Exhibit 1 hereto, provides that the Pfizer Defendants

will deposit $5 million of the Settlement Amount into an Escrow Account within 5 days from the

District Court’s order granting preliminary approval. Settlement Agreement, ¶ 2.1. The remainder

of the Settlement Amount will be deposited by the later of August 24, 2021 or thirty (30) days

before the date of the Fairness Hearing. Id. The cost of settlement administration, including the

costs of notice to the Class, taxes, and tax expenses, will be funded by the Settlement Fund (id., ¶¶

2.7, 2.8), which consists of the Settlement Amount, plus all interest and accretions thereto. Id., ¶

1.35. The Settlement Agreement also provides for a Settlement Administrator. Id., ¶ 1.33. Class

Counsel propose that the Court appoint A.B. Data, Ltd. to serve as the Settlement Administrator.

The Court previously approved A.B. Data to provide notice to the Class. A.B. Data has fulfilled

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all of its responsibilities to date, has the requisite expertise, experience and capabilities, and is fully

familiar with the facts of this case and the notice program that will be required here to comport with

Rule 23 and due process. The proposed notice plan is discussed below and in the accompanying

Schachter Declaration. See Exhibit 2.

        In summary, Plaintiffs and A.B. Data propose a notice program that will be substantially

similar to the Court-approved notice program that was used successfully to provide notice of

pendency of the Litigation to the certified Class. Consistent with the Court’s previous findings

(ECF No. 2240), the proposed notice program also satisfies the requirements of Rule 23 and due

process. It includes: (i) individual notice by email or mail to all Class Members who can reasonably

be located; (ii) publication notice in a national publication likely to be read by Class Members; (iii)

digital media advertisements posted on websites likely to be viewed by Class Members; (iv) a press

release to be widely disseminated; (v) a settlement website that will contain information about the

Litigation and the Settlement, as well as all important Settlement documents; and (vi) a toll-free

phone number and call center to field inquiries. The Settlement website will allow Class Members

to file their claims electronically. See Schachter Declaration, passim.

        The Notice (Settlement Agreement, Exhibit B) explains the terms of the Settlement,

including that the Net Settlement Fund will be distributed to eligible Class Members who submit

valid and timely Proofs of Claim and pursuant to the proposed Plan of Allocation. The Notice also

advises Class Members of: (i) Class Counsel’s application for an award of attorneys’ fees and

expenses, as well as Plaintiffs’ application for an award pursuant to 15 U.S.C. §78u-4(a)(4) in

connection with their representation of the certified Class; (ii) the procedures for objecting to the

Settlement, the Plan of Allocation, Class Counsel’s request for attorneys’ fees and expenses, and/or

Plaintiffs’ application for an award pursuant to 15 U.S.C. §78u-4(a)(4); and (iii) the date and time

for the Fairness Hearing. Notice (Settlement Agreement, Exhibit B) at 2, 4, 11-12, 14.

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       The Plan of Allocation, attached as Exhibit 3 hereto, will create two pools of funds from the

Net Settlement Fund, one for individual consumers and one for third-party payors. The allocation

of funds as between the two pools is based on the work done by Plaintiffs’ experts and tracks, as a

percentage, the relative damages suffered by individual consumers and third-party payors as

calculated in the Merits Expert Report of Professor Meredith Rosenthal. Within each pool, funds

will be distributed on a pro rata basis to all eligible Class Members who file a timely and valid

Proof of Claim.    Funds remaining in one pool will spill-over to the other pool in certain

circumstances. Plaintiffs anticipate that all funds will be distributed to Class Members pursuant to

the Plan of Allocation.4    There is no right of reversion under the Settlement and under no

circumstances will any portion of the Settlement Amount be returned to the Pfizer Defendants once

the Settlement becomes final.

       In exchange for the benefits provided under the Settlement Agreement, Class Members will

release the Pfizer Defendants as provided for in Paragraphs 1.8, 4.1 & 4.2 of the Settlement

Agreement. The Settling Parties have also agreed that Pfizer Defendants shall have the option to

terminate the Settlement Agreement in the event that the Court permits a second opportunity to opt

out of the Class and valid requests for exclusion from the Class exceed certain criteria. Settlement

Agreement ¶ 8.2.




4
        Class Counsel anticipate that, under the Plan of Allocation’s distribution terms, there will
be no remaining funds for cy pres distribution. If there is any remaining balance in the Net
Settlement Fund after the initial distribution—e.g. due to uncashed checks—the Settlement
Administrator will reallocate such balance among Class Members pursuant to the terms of the Plan
of Allocation. Any funds remaining for cy pres distribution should therefore be de minimis, existing
only if a Class Member does not cash their check or otherwise deposit or accept their distribution
after submitting a claim, and after additional distributions to qualifying claimants.

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IV.    THE SETTLEMENT IS FAIR, REASONABLE, AND ADEQUATE

       A.      The Court Should Grant Preliminary Approval of the Proposed
               Settlement

       Settlement is strongly favored as a method for resolving disputes. See Sears v. Atchison,

Topeka & Santa Fe Ry., Co., 749 F.2d 1451, 1455 (10th Cir. 1984); see also Trujillo v. State of

Colo., 649 F.2d 823, 826 (10th Cir. 1981) (citing “important public policy concerns that support

voluntary settlements”); Amoco Prod. Co. v. Fed. Power Comm’n, 465 F.2d 1350, 1354 (10th Cir.

1972). This is particularly true in large, complex class actions such as the current case. See Big O

Tires, Inc. v. Bigfoot 4x4, Inc., 167 F. Supp. 2d 1216, 1229 (D. Colo. 2001).

       Under Rule 23(e), the trial court must approve a class action settlement. Fed. R. Civ. P.

23(e) (“The claims . . . of a certified class – or a class proposed to be certified for purposes of

settlement – may be settled . . . only with the court’s approval.”). The procedure for review of a

proposed class action settlement is a well-established two-step process.         In re Motor Fuel

Temperature Sales Pracs. Litig., 258 F.R.D. 671, 675 (D. Kan. 2009); see Manual for Complex

Litigation (“Manual”), §13.14 (4th ed. 2004). First, the court conducts a preliminary approval

analysis to determine if there is any reason not to notify the class or proceed with the proposed

settlement. Lucas v. Kmart Corp., 234 F.R.D. 688, 693 (D. Colo. 2006). Second, after the court

preliminarily approves the settlement, the class is notified and provided an opportunity to be heard

at a final fairness hearing where the court considers the merits of the settlement to determine if it

should be finally approved. See In re Motor Fuel, 258 F.R.D. at 675; accord, 4 William B.

Rubenstein, Newberg on Class Actions (“Newberg”), §13.10 (5th ed. 2021).

       Through this Preliminary Approval Motion, Plaintiffs request the Court take the first step

in this two-step process: granting preliminary approval. Preliminary approval should be granted if

“the proposed settlement was ‘neither illegal nor collusive and is within the range of possible

approval.’” Newberg, §13.10; In re Syngenta AG. MIR 162 Corn Litig., No. 14-MD-2591-JWL,
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2018 WL 1726345, at *2 (D. Kan. Apr. 10, 2018) (Lungstrum, J.) (same). Although “[t]he

standards for preliminary approval are not as stringent as those applied for final approval,” courts

frequently refer to the final approval factors to determine whether a proposed settlement should be

preliminarily approved. In re Motor Fuel, 258 F.R.D. at 675-76, 680 (“While the Court will

consider these factors in depth at the final approval hearing, they are a useful guide at the

preliminary approval stage as well.”).

       B.      Standards for Preliminary Approval of a Proposed Settlement

       Under Rule 23(e)(1) of the Federal Rules of Civil Procedure the inquiry at preliminary

approval is whether the Court “will likely be able to: (i) approve the proposal under Rule 23(e)(2);

and (ii) certify the class for purposes of judgment on the proposal.” Fed. R. Civ. P. 23(e)(2)(B).

Rule 23(e)(2) provides that a class action settlement may be approved by the court “only after a

hearing and only on finding that it is fair, reasonable, and adequate.” Fed. R. Civ. P. 23(e)(2). In

deciding whether to approve a class action settlement, courts should consider whether:

       (A)    the class representatives and class counsel have adequately represented the
       class;

       (B)     the proposal was negotiated at arm’s length;

       (C)     the relief provided for the class is adequate, taking into account:

               (i)     the costs, risks, and delay of trial and appeal;

                (ii)   the effectiveness of any proposed method of distributing relief to the
       class, including the method of processing class-member claims;

              (iii) the terms of any proposed award of attorney’s fees, including timing
       of payment; and

               (iv)    any agreement required to be identified under Rule 23(e)(3); and

       (D)     the proposal treats class members equitably relative to each other.

Fed. R. Civ. P. 23(e)(2).



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       Additionally, in deciding whether a settlement is “fair, reasonable, and adequate,” courts in

the Tenth Circuit traditionally consider whether:

       (1) the settlement was fairly and honestly negotiated, (2) serious legal and factual
       questions placed the litigation’s outcome in doubt, (3) the immediate recovery was
       more valuable than the mere possibility of a more favorable outcome after further
       litigation, and (4) the parties believed the settlement was fair and reasonable.

Syngenta, 2018 WL 1726345, at *2 (citing Tenille v. Western Union Co., 785 F.3d 422, 434 (10th

Cir. 2015)). Because the Tenth Circuit’s additional factors “largely overlap” with the Rule 23(e)(2)

factors, “with only the fourth factor not being subsumed” into it, courts in this District now

“consider[] the Rule 23(e)(2) factors as the main tool in evaluating the propriety of [a] settlement,”

while still addressing the Tenth Circuit’s factors. Chavez Rodriguez v. Hermes Landscaping, Inc.,

No. 17-2142-JWB-KGG, 2020 WL 3288059, at *2 (D. Kan. June 18, 2020).

       As discussed below, the proposed Settlement for $345 million in cash easily satisfies each

of the Rule 23(e)(2) and Tenth Circuit factors. Accordingly, Plaintiffs request that the Court grant

preliminary approval of the Settlement.

       C.       The Settlement Satisfies the Rule 23(e)(2) Factors

                1.     Co-Lead Counsel Have Adequately Represented the Class

       Co-Lead Counsel have adequately represented the certified Class as required by Rule

23(e)(2)(A). Prior to reaching the Settlement, Co-Lead Counsel conducted extensive investigation

and research into the claims asserted, reviewed extensive data, and consulted with numerous

experts.    Co-Lead Counsel vigorously prosecuted the Litigation by, among other activities:

(i) investigating the relevant factual events; (ii) drafting the detailed, 400-page Complaint;

(iii) successfully opposing Defendants’ motions to dismiss; (iv) engaging in extensive document

and written discovery, through both coordinated and non-coordinated phases, including reviewing

over 11 million pages of documents produced by Defendants and third parties; (v) successfully

moving for class certification supported by four expert reports; (vi) successfully opposing
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Defendants’ petition to appeal the same pursuant to Rule 23(f); (vii) vigorously opposing summary

judgment; (vii) preparing for a month-long trial; and (viii) at the same time, preparing for and

engaging in a lengthy mediation session with Judge Phillips, preceded by detailed mediation

submissions. As a result of these extensive efforts, spanning thousands of hours of work and several

years, Co-Lead Counsel have achieved a significant all-cash Settlement of $345 million with the

Pfizer Defendants, which will provide immediate relief to the certified Class.

       Each of the Co-Lead Counsel (Elizabeth C. Pritzker of Pritzker Levine LLP, Paul J. Geller

of Robbins Geller Rudman & Dowd LLP, Rex A. Sharp of Sharp Law LLP, Warren T. Burns of

Burns Charest LLP, and Lynn Lincoln Sarko of Keller Rohrback L.L.P.) has significant experience

prosecuting complex antitrust and RICO class actions. Courts around the country and in this Circuit

recognize the expertise and ability of Co-Lead Counsel to litigate effectively complex class

actions.5


5
        See, e.g., Harris v. Chevron U.S.A., Inc., No. 6:19-cv-00355-SPS, 2020 WL 8187464, at *4
(E.D. Okla. Feb. 27, 2020) (noting that Sharp Law LLP is among the “[f]ew law firms [who] are
willing to litigate cases requiring review of tens of thousands of pages of detailed contracts and
accounting records, advance payment of hundreds of thousands of dollars in consultants and expert
witness fees, and investment of substantial time, effort, and other expenses throughout an unknown
number of years to prosecute a case with high risk, both at the trial and appellate levels”); In re
SandRidge Energy, Inc. Sec. Litig., No. CIV-12-1341-G, 2019 WL 4752268, at *9 (W.D. Okla.
Sept. 30, 2019) (“the attorneys of Robbins Geller are experienced class-action litigators and are
sufficiently committed to this litigation”); In re WorldCom, Inc. ERISA Litig., No. Civ. 02-4816
(DLC), 2004 WL 2338151 at *10 (S.D.N.Y. 2004) (regarding Lynn Sarko’s work as lead counsel,
Judge Cote stated, “Lead Counsel has performed an important public service in this action and has
done so efficiently and with integrity . . . . [Keller Rohrback] has also worked creatively and
diligently to obtain a settlement from WorldCom in the context of complex and difficult legal
questions”); The Hon. H. Russel Holland, D. Alaska, Presentation to Alaska Chapter of the Federal
Bar Association, Nov. 12, 2015 (regarding Lynn Sarko’s administration of two court-supervised
$1.128 billion Exxon settlement funds, Judge Holland observed: “[T]he money . . . . went into the
Exxon Qualified Settlement Fund that was administered by Lynn Sarko and his law firm in Seattle.
Those guys did a superb job. And it was a huge effort to notify all potential claimants, to get the
claims documented, to evaluate the documentation, and then to apply the sharing concepts to the
individual losses. . . . I can’t imagine that they could possibly have done a better job.”); In re Nat’l
Collegiate Athletic Ass’n Athletic Grant-in-Aid Cap Antitrust Litig., No. 4:14-md-2541-CW, 2017
WL 6040065, at *10 (N.D. Cal. Dec. 6, 2017), aff’d, 768 F. App’x 651 (9th Cir. 2019) (noting that
Pritzker Levine, as one of three firms representing the certified student-athlete class, is “among the
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       To support a finding of adequate representation, the parties must “[b]alanc[e] the entirety

of the case with the ultimate resolution.” Chavez Rodriguez v. Hermes Landscaping, Inc., 2020

WL 3288059, at *3 (D. Kan. June 18, 2020). Here, the collective tenacity and sophistication of

Class Counsel was instrumental in achieving the substantial $345 million Settlement, which will

now provide significant and immediate relief to the certified Class.

               2.     The Proposed Settlement Was Negotiated at Arm’s Length

       The second factor under Rule 23(e)(2)(B) overlaps with the first factor considered by courts

in the Tenth Circuit and assesses whether “‘the settlement was fairly and honestly negotiated.’”

Syngenta, 2018 WL 1726345, at *2. Settlements are fairly and honestly negotiated when “[t]he

completeness and intensity of the mediation process, coupled with the quality and reputations of

the Mediators, demonstrate a commitment by the Parties to a reasoned process for conflict

resolution that took into account the strengths and weaknesses of their respective cases and the

inherent vagaries of litigation.” Wilkerson v. Martin Marietta Corp., 171 F.R.D. 273, 285 (D. Colo.

1997); see also Ashley v. Reg’l Transp. Dist. & Amalgamated Transit Union Div. 1001 Pension

Fund Tr., No. 05-cv-01567-WYD-BNB, 2008 WL 384579, at *5-*6 (D. Colo. Feb. 11, 2008)

(finding that the settlement was fairly and honestly negotiated when the parties engaged in formal

settlement mediations over four months).

       The use of an experienced mediator “in the settlement negotiations strongly supports a

finding that they were conducted at arm’s-length and without collusion.” In re Telik, Inc. Sec.

Litig., 576 F. Supp. 2d 570, 576 (S.D.N.Y. 2008); see also D’Amato v. Deutsch Bank, 236 F.3d 78,

85 (2d Cir. 2001) (noting that a “mediator’s involvement in . . . settlement negotiations helps to



most well-respected class action litigation firms in the country, as this Court has witnessed in
numerous cases. And the efficiency with which plaintiffs’ counsel achieved such exceptional results
is laudable because it benefits the classes.” (footnote omitted)).

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ensure that the proceedings were free of collusion and undue pressure”); In re Molycorp, Inc. Sec.

Litig., No. 12-cv-00292-RM-KMT, 2017 WL 4333997, at *4 (D. Colo. Feb. 15, 2017), report and

recommendation adopted, No. 12-cv-00292-RM-KMT, 2017 WL 4333998 (D. Colo. Mar. 6, 2017)

(“Utilization of an experienced mediator during the settlement negotiations supports a finding that

the settlement is reasonable, was reached without collusion and should therefore be approved.”).

       Here, the Settlement is the product of arm’s-length negotiations between the Settling Parties,

advised by their sophisticated counsel, who possessed more than sufficient evidence and knowledge

to allow them to make informed decisions about the strengths and weaknesses of their respective

cases. During mediation, the relevant legal issues were fully presented, not only for the benefit of

the mediator, but also for the Settling Parties to effectively evaluate liability and damages. As a

result, the Settling Parties were well prepared for the serious negotiations that led to the Settlement

and were well-informed of the respective parties’ arguments. See In re Motor Fuel, 258 F.R.D. at

675-76.

       Moreover, the settlement negotiations were conducted under the direct supervision of retired

U.S. District Judge Layn R. Phillips, one of the most experienced and well-respected mediators in

the country. In the mediation process with Judge Phillips, Plaintiffs and the Pfizer Defendants

delivered several detailed virtual presentations. Throughout, the Pfizer Defendants maintained that

Plaintiffs’ claims were without merit and denied all allegations of wrongdoing whatsoever with

respect to the subject matter of the Litigation. The Settlement reached resulted from mediations

supervised by Judge Phillips, whose involvement, skill, and experience ensured the parties engaged

in fair, arm’s-length negotiations.     “Accordingly, a presumption of fairness, adequacy, and

reasonableness attaches to the Settlement achieved here.” In re Molycorp, 2017 WL 4333997, at

*4; accord Chavez Rodriguez, 2020 WL 3288059, at *3 (determining that a settlement “negotiated



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through a formal mediation” with a skilled mediator supported the conclusion that the settlement

“is a product of an arm’s length negotiation”).

                3.      The Proposed Settlement Is Adequate in Light of the Costs,
                        Risks, and Delay of Trial and Appeal

        In assessing the Settlement, the Court should also balance the benefits afforded to the

certified Class, including the immediacy and certainty of a recovery, against the significant costs,

risks, and delay of proceeding with the Litigation. See Rule 23(e)(2)(C)(i). This third factor is

based on the premise that the Class “is better off receiving compensation now as opposed to being

compensated, if at all, several years down the line, after the matter is certified, tried, and all appeals

are exhausted.” See McNeely v. Nat’l Mobile Health Care, LLC, No. CIV-07-933-M, 2008 WL

4816510, at *13 (W.D. Okla. Oct. 27, 2008). This consideration largely overlaps with the second

(“‘whether serious questions of law and fact exist, placing the ultimate outcome of the litigation in

doubt’”) and third factors (“‘whether the value of an immediate recovery outweighs the mere

possibility of future relief after protracted and expensive litigation’”) traditionally considered by

courts in the Tenth Circuit. Chavez Rodriguez, 2020 WL 3288059, at *2-*3. Thus, courts consider

these factors to be “subsumed under Rule 23’s requirement.” Id.

                4.      Serious Legal and Factual Questions Placed the Litigation’s
                        Outcome in Doubt

        The presence of serious legal and factual questions concerning the outcome of the Litigation

weighs heavily in favor of settlement, “because settlement creates a certainty of some recovery, and

eliminates doubt, meaning the possibility of no recovery after long and expensive litigation.” In re

Qwest Commc’ns Int’l, Inc. Sec. Litig., 625 F. Supp. 2d 1133, 1138 (D. Colo. 2009). “Although it

is not the role of the Court at this stage of the litigation to evaluate the merits, it is clear that the

parties could reasonably conclude that there are serious questions of law and fact that exist such

that they could significantly impact the case if it were litigated.” Lucas, 234 F.R.D. at 693-94. The

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presence of questions of law and fact “tips the balance in favor of settlement because settlement,

creates a certainty of some recovery, and eliminates doubt, meaning the possibility of no recovery

after long and expensive litigation.” McNeely, LLC, 2008 WL 4816510, at *13; see also Tennille,

785 F.3d at 435 (affirming final approval of settlement where “serious disputed legal issues”

rendered “the outcome of th[e] litigation. . . uncertain and further litigation would have been

costly”).

       The current proposed Settlement notwithstanding, there remain numerous factual and legal

issues on which the Settling Parties still intensely disagree. The Pfizer Defendants deny that they

have engaged in any wrongdoing as alleged by Plaintiffs, deny any liability whatsoever for any of

the claims alleged by Plaintiffs, and deny that Plaintiffs have suffered any injuries or damages.

Conversely, Plaintiffs have advanced numerous complex legal and factual issues under federal and

state antitrust and federal RICO statutes. The issues on which the Settling Parties disagree are

many, but include: (1) whether any of the Pfizer Defendants engaged in conduct that would give

rise to any liability to Plaintiffs under the RICO statute or certain state antitrust laws; (2) whether

the Pfizer Defendants have valid defenses to any such claims of liability; (3) the amount of damages

Plaintiffs suffered by reason of the Pfizer Defendants’ alleged wrongdoing, as well as the

methodology for estimating any such damages; (4) whether the Court properly certified the Class;

and (5) whether the Pfizer Defendants had other meritorious defenses to the alleged claims. Had

the parties not settled this Litigation, the Court or a jury would ultimately be required to decide

these issues, placing the ultimate outcome in doubt. While Plaintiffs believe their claims would be

borne out by the evidence presented at trial, they recognize that there are significant hurdles to

proving liability or even proceeding to trial.6


6
      Following the parties’ agreement to the terms of the Settlement, the Court granted summary
judgment to the Mylan Defendants on Plaintiffs’ RICO and branded-competition antitrust claims.
Notwithstanding Plaintiffs’ view on whether these rulings will be reversed on either reconsideration
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               5.      Immediate Recovery Is More Valuable than the Mere
                       Possibility of a More Favorable Outcome After Further
                       Litigation

       Considering the risks associated with continued litigation, as discussed above, the

immediate, substantial relief offered by the Settlement outweighs the “mere possibility of a more

favorable outcome after protracted and expensive litigation over many years in the future.”

Syngenta, 2018 WL 1726345, at *2; In re Thornburg Mortg., Inc. Sec. Litig., 912 F. Supp. 2d 1178,

1244 (D.N.M. 2012) (“‘[t]o most people, a dollar today is worth a great deal more than a dollar ten

years from now’”) (quoting Reynolds v. Beneficial Nat’l Bank, 288 F.3d 277, 284 (7th Cir. 2002)).

       Further, this Litigation has already been pending for over four years, and the Settling Parties

and the Court would expend significant additional time, resources, costs to proceed to trial, and the

inevitable appeals likely extending years into the future. Chavez Rodriguez, 2020 WL 3288059, at

*3 (observing that “the costs and time of moving forward in litigation would be substantial”); Lucas,

234 F.R.D. at 694 (“If this case were to be litigated, in all probability it would be many years before

it was resolved.”). Considering the complex legal and factual issues associated with continued

litigation, there is an undeniable and substantial risk that, after years of continued litigation,

Plaintiffs could receive an amount significantly less than the Settlement Amount, or nothing at all

for their claims against Pfizer.

       “By contrast, the proposed settlement agreement provides the class with substantial,

guaranteed relief” now. Lucas, 234 F.R.D. at 694; see also McNeely, 2008 WL 4816510, at *13

(“The class . . . is better off receiving compensation now as opposed to being compensated, if at all,

several years down the line, after the matter is certified, tried, and all appeals are exhausted.”).

“[The] immediate recovery in this case outweighs the time and costs inherent in complex securities


or appeal, these rulings demonstrate the significant hurdles—and likely protracted nature of the
litigation—if a settlement had not been reached.

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litigation, especially when the prospect is some recovery versus no recovery.” In re Crocs, Inc.

Sec. Litig., 306 F.R.D. 672, 691 (D. Colo. 2014); In re King Res. Co. Sec. Litig., 420 F. Supp. 610,

625 (D. Colo. Aug. 10, 1976) (“In this respect, ‘[i]t has been held proper to take the bird in the hand

instead of a prospective flock in the bush.’”); accord Tennille v. W. Union Co., No. 09-cv-00938-

JLK-KMT, 2014 WL 5394624, at *4 (D. Colo. Oct. 15, 2014), appeal dismissed, 809 F.3d 555

(10th Cir. 2015). Thus, the $345 million immediate recovery, particularly when viewed in the

context of the risks, costs, delay, and the uncertainties of further proceedings, weighs in favor of

preliminary approval of the Settlement.

                  6.   The Proposed Method for Distributing Relief Is Effective

       As demonstrated below, the proposed notice program and claims administration process are

effective. The settlement notice plan involves individual notice by email or First-Class Mail to all

Class Members who can be identified with reasonable effort, supplemented by various forms of

internet and publication notice, targeted to reach likely EpiPen purchasers.           See Schachter

Declaration, ¶¶ 7-18 & Exhibit B thereto (Notice Plan). In addition, a case-designated website will

be created where settlement-related and other key documents will be posted, including the

Settlement Agreement, Notices, Proofs of Claim (Claim Forms), and Preliminary Approval Order.

Id. ¶¶ 7, 19. The Settlement website will also allow for Proof of Claim forms to be filed

electronically.

       Plaintiffs propose a fair and orderly claims administration process in which Class Members

who wish to participate in the Settlement will complete and submit Proofs of Claim in accordance

with the instructions contained therein. See id. ¶¶ 20-21; Plan of Allocation (Exhibit 3). The

Settlement Administrator will distribute the Net Settlement Fund to Authorized Claimants on a pro

rata basis under a Court-approved Plan of Allocation. See Plan of Allocation (Exhibit 3). The Plan



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of Allocation proposed here was prepared with information provided by Plaintiffs’ experts and in

consultation with A.B. Data.

               7.     Attorneys’ Fees and Expenses

       Rule 23(e)(2)(C)(iii) addresses “the terms of any proposed award of attorney’s fees,

including timing of payment.” Fed. R. Civ. P. 23(e)(2)(C)(iii). The Notice provides that Class

Counsel will apply to the Court for an award of attorneys’ fees in an amount up to one-third of the

Settlement Amount, plus payment of Plaintiffs’ counsel’s expenses incurred in connection with this

Litigation, plus interest earned on these amounts at the same rate as earned by the Settlement Fund.

       Class Counsel’s anticipated fee request is well within the range that other courts in this

District and the Tenth Circuit have approved in complex class actions. See, e.g., Chavez Rodriguez,

2020 WL 3288059, at *4 (awarding attorneys’ fees of 33% of the settlement amount after costs);

Nakamura v. Wells Fargo Bank, N.A., No. 17-4029-DDC-GEB, 2019 WL 2185081, at *1 (D. Kan.

May 21, 2019) (awarding attorneys’ fees of 33% of the gross settlement fund); In re Universal Serv.

Fund Tel. Billing Pracs. Litig., No. 02-MD-1468-JWL, 2011 WL 1808038, at *2 (D. Kan. May 12,

2011) (finding a fee of one-third of the total amount of the settlement fund to be “a reasonable and

appropriate fee”).

       With respect to the timing of payment, the Settlement Agreement provides that any

Plaintiffs’ attorneys’ fees and expenses, as awarded by the Court, shall be paid to Class Counsel

within ten (10) days of the Court executing the Judgment and an order awarding such fees and

expenses, subject to Class Counsel’s several obligation to make appropriate refunds or repayments

to the Settlement Fund plus interest thereon if, and when, as a result of any appeal and/or further

proceedings on remand, or successful collateral attack, the fee or expense award is lowered or the

Settlement is disapproved by a final order not subject to final review. Settlement Agreement, ¶ 6.2;

see Syngenta, 2021 WL 102819, at *4 (D. Kan. Jan. 12, 2021) (approving immediate payment of

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plaintiff counsel attorneys’ fees and costs) (citing In re Lumber Liquidators Chinese-Manufactured

Flooring Prods. Mktg., Sales Practices and Prods. Liab. Litig., 952 F.3d 471, 487 (4th Cir. 2020))

(finding immediate payment provisions have generally been approved by federal courts); see also

In re NASDAQ Market-Makers Antitrust Litig., 187 F.R.D. 465, 479-80 (S.D.N.Y. 1998); Pelzer v.

Vassalle, 655 F. App’x 352, 365 (6th Cir. 2016) (“The quick-pay provision does not harm the class

members in any discernible way, as the size of the settlement fund available to the class will be the

same regardless of when the attorneys get paid.”); In re Whirlpool Corp. Front-loading Washer

Prods. Liab. Litig., No. 1:08-WP-6500, 2016 WL 5338012, at *21 (N.D. Ohio Sept. 23, 2016)

(“[q]uick-pay clauses substantially reduce the leverage a professional objector can wield”); Bolch

Jud. Inst., Guidelines and Best Practices: Implementing 2018 Amendments to Rule 23 Class Action

Settlement Provisions 21 (2018), (suggesting that the parties’ efforts to discourage bad-faith

objectors “include a ‘quick-pay clause’”).7

                 8.     The Settling Parties Have No Additional Agreement

         Rule 23(e)(2)(C)(iv) requires the disclosure of any other agreements. The Settling Parties

have no additional agreements.

                 9.     Class Members Are Treated Equitably

         The final factor, Rule 23(e)(2)(D), looks at whether certified Class Members are treated

equitably. As reflected in the Plan of Allocation (Exhibit 3), Class Members are treated equitably

here. The Net Settlement Fund will be allocated based on estimated damages as calculated in the

Merits Expert Report of Professor Meredith Rosenthal and then distributed on a pro rata basis to

Class Members based on total amounts paid for EpiPens during the Class Period. Two separate

pools are established for TPPs and individual consumers because of their differing claim rates. The



7
    Available at: https://scholarship.law.duke.edu/cgi/viewcontent.cgi?article=1003&context=bolch.

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Plan of Allocation provides for a spill-over from one pool to the other if one pool exhausts but the

other does not. Therefore, all Class Members are treated alike in receiving their pro rata share of

the Settlement.

       D.      The Settlement Satisfies the Remaining Factor Considered by Courts
               in the Tenth Circuit

       The final, additional factor courts in the Tenth Circuit consider is “‘the judgment of the

parties that the settlement is fair and reasonable.’” Chavez Rodriguez, 2020 WL 3288059, at *2.

In analyzing this factor, courts recognize that “‘the recommendation of a settlement by experienced

plaintiff[s’] counsel is entitled to great weight.’” O’Dowd v. Anthem, Inc., No. 14-cv-02787-KLM-

NYW, 2019 WL 4279123, at *14 (D. Colo. Sept. 9, 2019); Hapka v. CareCentrix, Inc., No. 2:16-

cv-02372-KGG, 2018 WL 1871449, at *5 (D. Kan. Feb. 15, 2018); Marcus v. State of Kansas Dept.

of Revenue, 209 F. Supp. 2d 1179, 1183 (D. Kan. 2002) (“Counsels’ judgment as to the fairness of

the agreement is entitled to considerable weight.”); see also Crocs, 306 F.R.D. at 690 (finding that,

even without formal discovery, the parties were able to give adequate consideration to the strengths

and weaknesses of their respective claims).

       Class Counsel—all senior attorneys at law firms with considerable experience in complex

antitrust and civil RICO class actions—only agreed to settle this Litigation after extensive

investigation, written discovery, motion practice, deposition testimony, data analyses, and rigorous

arm’s-length negotiations.    Additionally, as noted above, Plaintiffs and their Counsel have

compared the substantial recovery the certified Class will receive from the Settlement against the

risks, delays, and uncertainties of continued litigation and appeals. Plaintiffs and their Counsel

believe the Settlement is fair, adequate, and reasonable and should be approved. The Pfizer

Defendants likewise believe the Settlement should be approved. Because the above factors weigh

in favor of the Settlement, Plaintiffs respectfully request that the Court grant preliminary approval

of the Settlement.
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V.      THE PROPOSED FORM AND METHOD OF PROVIDING NOTICE TO
        THE CLASS ARE APPROPRIATE

        A.     The Court Should Preliminarily Approve the Proposed Notice of
               Settlement

        Rule 23(c)(2)(B) requires that notice in a Rule 23(b)(3) class action constitute “the best

notice . . . practicable under the circumstances, including individual notice to all members who can

be identified through reasonable effort.” Fed. R. Civ. P. 23(c)(2)(B). In terms of content, a

settlement notice need only be “reasonably calculated, under all of the circumstances, to apprise

[the] interested parties of the pendency of the [settlement proposed] and [to] afford them an

opportunity to present their objections.” Mullane v. Cent. Hanover Bank & Tr. Co., 339 U.S. 306,

314 (1950); see also, e.g., Fager, 854 F.3d at 1170 (same); Tennille, 785 F.3d at 436 (same). “‘The

hallmark of the notice inquiry . . . is reasonableness.’” Lucas, 234 F.R.D. at 696.

        Plaintiffs have submitted to the Court for approval the Notice and Summary Notice that will

be provided to the certified Class. In accordance with Rule 23(c)(2)(B), the proposed Notice will

fully inform Class Members about the Litigation, the proposed Settlement, and the facts they need

to make informed decisions about their rights and options in connection with the Settlement.

Specifically, the Notice clearly describes: (i) the nature of the (proposed) Settlement and the

(proposed) Plan of Allocation; (ii) the nature and extent of the release of claims; (iii) Class

Counsel’s intent to request attorneys’ fees, and expenses; (iv) the method for submitting a Proof of

Claim; (v) the procedure and timing for objecting to the Settlement; (vi) the date, time, and place

of the Final Fairness Hearing; and (vii) ways to receive additional information about this Litigation

and the proposed Settlement. The Notices also provide Class Members with a toll-free telephone

number, email address, and a Settlement website where Class Members may obtain additional

information. Thus, the Notices are reasonably calculated to apprise the interested parties of the

pendency of the Settlement and afford them a fair opportunity to object. As such, the form and

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manner of the proposed Notice meets the requirements of both Rule 23 and due process. The Court

should approve the Notices and the manner through which they will be delivered and communicated

to the certified Class.

        B.       An Additional Settlement Opt-Out Is Neither Required By Due
                 Process Nor Warranted Under Rule 23(e)

        The initial class notice in this Litigation met and surpassed the constitutional standards for

due process and all the requirements of Rule 23, and there has been no change in information

available to the certified Class since the first notice that warrants an additional, discretionary opt-

out at settlement. See ECF No. 2240 (order approving notice). From start to finish of the class

certification notice process, Class Counsel and A.B. Data administered a comprehensive notice

program that included: acquiring expert input, using best practices recommended by the Federal

Judicial Center, and, at every stage, coordinating the notice program with the United States District

Court for the District of Kansas.

        As required by due process and Rule 23(c)(2)(B), the initial class notice was “the best

practicable [notice], ‘reasonably calculated, under all the circumstances, to apprise interested

parties of the pendency of the action and afford them an opportunity to present their objections.”’

See Phillips Petroleum Co. v. Shutts, 472 U.S. 797, 812 (1985). Class Counsel made every

reasonable effort to identify and deliver direct, individual notice to all Class Members. See Fed. R.

Civ. P. 23(c)(2)(B). And to the greatest extent practicable under the circumstances, Class Counsel

apprised all interested parties who could be contacted with reasonable effort of the impending

Litigation, their rights to participate in or be excluded from the Litigation, and the legal effect(s) of

either choice.

        Not only did the exclusion language within the notice sufficiently inform Class Members of

their right to be excluded from the Class (and the method and deadline for doing so in clear, concise,

conspicuous, and plainly written language, so as to be easily understood by the average class
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member) – it did so repeatedly throughout the notice. See Low v. Trump Univ., LLC, 881 F.3d

1111, 1120 (9th Cir. 2018) (reviewing the sufficiency of previous class notice to satisfy due process

related to class settlement); see also Mullane, 339 U.S. at 315 (holding that the measure for

sufficiency of notice is reasonableness). The explicit exclusion language clearly informed Class

Members of the legal consequences of either remaining in or opting out of the Litigation and

expressly stated the possible outcomes of the Litigation included trial or settlement. See ECF No.

2209 (at 2209-2 (Short Form Notice) & 2209-3 (Notice)) & ECF No. 2240 (order approving

notices). Class Members were given reasonable opportunity to opt-out within seventy-five days of

issuance of the notice, from November 1, 2020, until January 15, 2021. Manual, §21.321 (“Courts

usually establish a period of thirty to sixty days (or longer if appropriate) following mailing or

publication of the notice for class members to opt out.”). Therefore, as part of the Settlement

Agreement, the Settling Parties have expressly agreed not to provide a second opt-out opportunity.

       Allowing an unnecessary second opt-out opportunity could disrupt the Settlement

Agreement the parties have carefully negotiated, putting at risk the $345 million recovery for the

Class. Courts consistently find that fair settlements do not require a second opt-out provision. See

Officers for Just. v. Civ. Serv. Comm’n of City & Cnty. of S.F., 688 F.2d 615, 634-35 (9th Cir.

1982); Low, 881 F.3d at 1121-22; Low v. Trump Univ., LLC, 246 F. Supp. 3d 1295, 1306 (S.D. Cal.

2017) (concluding that the initial notice and exclusion opportunity “undoubtedly” met the due

process requirements); Lowery v. City of Albuquerque, No. CIV 09-0457 JB/WDS, 2013 WL

1010384, at *32 (D.N.M. February 27, 2013) (noting “the rule defers to the district court’s

discretion and does not proscribe that a fair settlement must allow class members the opportunity

to opt out”) (citing Moulton v. U.S. Steel Corp., 581 F.3d 344, 354 (6th Cir. 2009)). “Requiring a

second opt-out period as a blanket rule would disrupt settlement proceedings because no

certification would be final until after the final settlement terms had been reached.” Denney v.

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Deutsche Bank AG, 443 F.3d 253, 271 (2d Cir. 2006); see also, e.g., Low, 881 F.3d at 1121 (“[There

is] no authority of any kind suggesting that due process requires that members of a Rule 23(b)(3)

class be given a second chance to opt out. . . . [Plaintiff’s] rights are protected by the mechanism

provided in the rule: approval by the district court after notice to the class and a fairness hearing at

which dissenters can voice their objections, and the availability of review on appeal.”).

       Additionally, there are no factors warranting a discretionary opt-out at settlement under

Rule 23(e)(4). The initial notice expressly conveyed to Class Members that possible outcomes of

the Litigation included trial or settlement. The only relevant change in information available to

Class Members since prior notice is that Plaintiffs and the Pfizer Defendants have now agreed to a

$345 million settlement, which, as noted, provides immediate and valuable relief to the Class.

“Courts have rejected the suggestion that a second opt-out should be granted as a matter of course,

even if the terms of the settlement change after the expiration of the initial opt-out period.” 2

McLaughlin on Class Actions §6:21 (17th ed. 2020); accord Lowery, 2013 WL 1010384, at *42

(concluding that the change in circumstances of a more “significant recovery” at settlement than

previously anticipated by the class weighed against providing an additional opt-out opportunity).

       In rejecting the provision of a second opt-out period, multiple federal courts have noted that

the Rule 23(c)(2) procedures for class certification provide absentee class members in a 23(b)(3)

action with a choice: exclude themselves from the case or remain a party and be bound by the final

judgment. This procedure “requires each absentee member to take affirmative action at the outset

of the suit if he or she wishes to be excluded from the class.” In re Nissan Motor Corp. Antitrust

Litig., 552 F.2d 1088, 1104 (5th Cir. 1977); accord In re MetLife Demutualization Litig., 689 F.

Supp. 2d 297, 325, 345-46 (E.D.N.Y. 2010) (concluding that “[i]f any class members wished to

control the prosecution or settlement of their own claims, they could have opted out or sought to

intervene after notice of pendency was given”) (citing Wal-Mart Stores, Inc. v. Visa U.S.A., Inc.,

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396 F.3d 96, 114-115 (2d Cir. 2005)). These courts almost uniformly note the high cost to the

settlement process at little benefit to objectors because the class members have had previous

opportunities to opt-out. This was the court’s reasoning in In re MetLife Demutualization Litig.

when it declined to offer a second exclusion opportunity at settlement:

               Where, as here, a class action has been certified and class members have had
       a previous opportunity to request exclusion by opting out of the class, the court may
       afford individual class members a new opportunity to request exclusion, but it is not
       required to do so. In the present cases there shall not be provided a second
       opportunity for exclusion. The administration of any new exclusion procedures
       would be expensive. The number of policyholders who would opt out now, after
       failing to exclude themselves previously, is likely to be minimal to the vanishing
       point.

689 F. Supp. 2d at 325; accord In re Washington Mutual, Inc., 2015 WL 12803633, at *1 (W.D.

Wash. June 22, 2015) (concluding that a second opt-out opportunity need not be provided “in light

of the extensive notice program undertaken in connection with the earlier settlements, the ample

opportunity provided to Class Members to request exclusion from the Class at that time, and the

fact that there would be no potential benefit to any Class Member who opts out”). As the Second

Circuit noted, the costs are potentially high for allowing objectors to demand additional opt-out

periods after settlement agreements whenever there is a change of information from the last notice

and opportunity for exclusion: “Requiring a second opt-out period as a blanket rule [on any changed

information] would disrupt settlement proceedings because no certification would be final until

after the final settlement terms had been reached.” Denney, 443 F.3d at 271.

       Where, as here, the prior class notice was adequate, the explicit exclusion language therein

was sufficient and reasonable, and the costs of providing an additional opt-out outweigh any

potential benefits, courts have overwhelmingly approved settlement agreements that do not provide

for an additional opt-out opportunity.8 Plaintiffs and Pfizer Defendants respectfully submit that no


8
       See, e.g., Low, 881 F.3d at 1120-22 (weighing the benefit and fairness of the settlement as
a whole and determining district court acted well within its discretion by approving the settlement
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additional opt-out opportunity should be provided during notice to the Class for settlement

purposes.

       C.      Appointment of A.B. Data to Serve as the Settlement Administrator Is
               Proper

       Plaintiffs request that the Court appoint A.B. Data to serve as the Settlement Administrator

with respect to the Settlement, which includes providing notice of the Settlement and administering

the claims process and distribution of the Net Settlement Fund. A.B. Data is a highly experienced

and well-qualified notice administrator (see Schachter Declaration at Exhibit A), and was appointed

by the Court and successfully administered the class certification-stage notice. Class Counsel have




without a second opt-out period); Denney, 443 F.3d at 271 (“Neither due process nor Rule 23(e)[(4)]
requires…a second opt-out period whenever the final terms [of a settlement] change after the initial
opt-out period.”); Wal-Mart, 396 F.3d at 114 (holding that a single opt-out at certification of a
settlement class was sufficient to protect a party’s interest in the proceedings and right to be
excluded); Class Plaintiffs v. City of Seattle, 955 F.2d 1268, 1289-90 (9th Cir. 1992) (holding that
because class members were given an opportunity to opt out, notice of the proposed settlement, and
the opportunity to object, no additional opt-out would be provided); Officers for Just., 688 F.2d at
635 (finding “no authority of any kind suggesting that due process requires members of a Rule
23(b)(3) be given a second chance to opt out”); Davis v. Abercrombie, No. 11-00144 LEK-BMK,
2017 WL 2234175, at *9 (D. Haw. May 22, 2017) (rejecting plaintiff’s argument that a second opt-
out period is necessary to protect class members’ due process rights or warranted under its
discretionary powers); Low, 246 F. Supp. 3d at 1306 (concluding that the initial notice and
exclusion opportunity “undoubtedly” met the due process requirements); Lowery, 2013 WL
1010384, at *42 (concluding that the parties arriving at more favorable terms in the final settlement
than previously known or anticipated by class members weighed against the need for a late opt-
out); Denney v. Jenkens & Gilchrist, 230 F.R.D. 317, 344 (S.D.N.Y. 2005) aff’d in part, vacated in
part on other grounds, remanded to Denney, 443 F.3d 253 (finding no further opt out opportunity
was required when prior notice was “more than adequate, both procedurally and with respect to its
content”). District courts have very rarely refused to approve a settlement agreement for lack of a
second opt-out provision. Indeed, our research has only identified two such cases in the same federal
district: the District of Maine. That court did so twice and for similar reasons of fairness, due
process, and the efficient administration of justice within the context of conditions affecting class
members at settlement that were significantly different than those anticipated at the initial opt-out
opportunity. See Dare v. Knox Cnty., 457 F. Supp. 2d 52 (D. Me. 2006); see also Tardiff v. Knox
Cnty., 567 F. Supp. 2d 201, 204, 206, 209-10 (D. Me. 2008) (applying the Dare Court’s
interpretation of liberal judicial discretion under Rule 23(e)(4)).

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worked favorably with A.B. Data and are confident in the firm’s ability to continue the successful

administration of notice and the Settlement for this Litigation.

       D.        Appointment of Huntington Bank as Escrow Agent Is Proper

       Plaintiffs request the Court appoint Huntington Bank as Escrow Agent. Huntington is a

well-known and highly-respected global bank providing consumers, corporations, governments and

institutions with a broad range of financial services. Class Counsel in this case have worked

favorably with Huntington in the past. Based on Huntington’s experience and familiarity with

performing the services of an escrow agent, Class Counsel are confident Huntington will properly

perform the duties of Escrow Agent as ordered by the Court.

       E.        Proposed Schedule of Settlement Events

       If the Court grants preliminary approval of the proposed Settlement, the Settling Parties

respectfully submit the following proposed procedural schedule:

 DATE                        EVENT
 July 14, 2021               Plaintiffs file Motion for Preliminary Approval of Settlement
 July 23, 2021               Pfizer provides Class Action Fairness Act Notice to State
                             Attorneys General
 July 28, 2021               Hearing on Preliminary Approval of Settlement
                             [Date and Time TBD by Court]
 August 4, 2021              Settlement Notice Program Begins
 September 10, 2021          Plaintiffs file Motion for Final Approval of Settlement,
                             Attorneys’ Fees, Expenses, and Service Awards
 September 24, 2021          Objection Deadline and Deadline for State Attorneys
                             General to file Comments/Objections
 October 15, 2021            Plaintiffs file Response to Objections for Final Approval of
                             Settlement, Attorneys’ Fees, Expenses, and Service Awards
 October 25 or 26, 2021      Hearing on Final Approval of Settlement, Attorneys’ Fees,
                             Expenses, and Service Awards
                             [Date and Time TBD by Court]

VI.    THE COURT SHOULD STAY PROCEEDINGS IN THE ACTION AS TO
       THE PFIZER DEFENDANTS ONLY

       The Settling Parties further request that the Court stay all proceedings in the Action as to

the Pfizer Defendants only pending a final determination as to whether the Settlement should be
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approved, other than proceedings necessary to carry out or enforce the terms and conditions of the

Settlement Agreement. Courts routinely stay proceedings pending final approval of settlement

agreements in circumstances such as these. See, e.g., Memorandum and Order at 19 (Lungstrum,

J.), Syngenta, No. 14-md-2591-JWL (D. Kan. April 10, 2018), ECF No. 3531; Order Preliminarily

Approving Settlement at 6 (Lungstrum, J.), In re Urethane Antitrust Litig., No. 04-md-1616-JWL

(D. Kan. June 13, 2006), ECF No. 380; Marcus v. Dep’t of Revenue, 206 F.R.D. 509, 514 (D. Kan.

2002) (“All further litigation of this proceeding is hereby stayed pending final determination of the

acceptance of the settlement agreement at the fairness hearing.”); Albrecht v. Oasis Power, LLC,

No. 1:18-cv-1061, 2019 U.S. Dist. LEXIS 162876, at *19 (N.D. Ill. Sep. 24, 2019) (“Pending final

determination of whether the Settlement should be approved, all discovery and all proceedings in

the Litigation unrelated to the approval of the Settlement are stayed.”); In re Sony PS3 “Other OS”

Litig., No. 10-cv-01811-YGR, 2017 WL 5598726, at *6 (N.D. Cal. Nov. 21, 2017) (same).

VII.   CONCLUSION

       For the foregoing reasons, Plaintiffs respectfully request the Court grant Plaintiffs’ motion

for preliminary approval and enter the agreed proposed Preliminary Approval Order, attached as

Exhibit A to the Settlement Agreement and submitted in Word format herewith.


                                                  Respectfully submitted,


 DATED: July 14, 2021                          KELLER ROHRBACK L.L.P.

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